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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF ILLINOIS

       In Re:                                          )     In Proceedings
                                                       )     Under Chapter 7
                JOSHUA A. TINK,                        )
                                                       )     BK       21-30885
                                         Debtor.       )

         APPLICATION FOR EMPLOYMENT OF ATTORNEY FOR TRUSTEE

       COMES NOW Trustee Robert E. Eggmann and for his Application for Employment of

Attorney for Trustee respectfully states as follows:

       1.       Robert E. Eggmann is the duly qualified and acting chapter 7 trustee in this case.

       2.       In order to perform his duties as trustee, Trustee requires the assistance of legal

counsel for numerous matters arising in the bankruptcy proceeding, including but not limited to:

            a. the collection of property of the bankruptcy estate;

            b. the preparation and review of documents in connection with the filing of any

                necessary objections to exemptions;

            c. the preparation of legal motions and notices as may be required;

            d. the performance of necessary legal procedures in further discovery of assets;

            e. opposing various motions which may not be in the best interest of the estate;

            f. the representation of the Applicant in Court in connection with the above-

                described matters; and

            g. the preparation of other legal instruments related to the above-described matters,

                as required.

       3.       Specifically, Trustee is in need of an attorney to assist with the recovery of the

non-exempt equity in various assets.

       4.       Trustee desires to employ the law firm of Carmody MacDonald, P.C. for the
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purpose of providing Trustee legal services necessary for the administration of this estate.

        5.     The hourly rates of those associates and partners of Carmody MacDonald P.C.

who are to be involved in this case range from $200.00 per hour for junior associates to $295.00

per hour for senior attorneys. The present rate for the attorney who will serve as lead counsel for

the Trustee is $295.00 per hour. The hourly rates for those legal assistants to be involved in this

case are $100.00 to $190.00 per hour. These rates are the same as rates generally charged for

serviced rendered in all matters handled by Carmody MacDonald P.C., and are competitive with

those charged by other law firms in the Southern District of Illinois for services comparable to

those to be provided by Carmody MacDonald P.C. Firm billing rates are adjusted from time to

time.

        6.     Based upon the Declaration attached hereto, Trustee believes that said law firm

and its partners, of counsel, and associates, do not hold or represent any interest adverse to that

of the Trustee, the bankruptcy estate, the U.S. Trustee and its employees.

        7.     Applicant believes said law firm is a disinterested entity within the meaning of 11

U.S.C. §101(14).

        8.     Applicant believes that the employment of said law firm would be in the best

interest of the bankruptcy estate.

        7.     The Application To Employ Counsel is made pursuant to the provisions of

11 U.S.C. §§ 327, 328, and 331.

        WHEREFORE, Trustee Robert E. Eggmann prays that he be authorized to employ the

law firm of Carmody MacDonald P.C. for the purposes outlined above, with compensation of

counsel to be paid as an administrative expense in such amount as this Court hereinafter

determines and allows upon application or applications to be filed by said attorneys.



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                                  ROBERT E. EGGMANN, TRUSTEE,

                                  /s/ Robert E. Eggmann
                                  Robert E. Eggmann, Trustee
                                  2227 Illinois Route 157
                                  Edwardsville, IL 62025
                                  (618) 222-1900 (Telephone)
                                  (314) 854-8660 (Fax)
                                  reetrustee@carmodymacdonald.com




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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF ILLINOIS

        In Re:                                          )      In Proceedings
                                                        )      Under Chapter 7
                 JOSHUA A. TINK,                        )
                                                        )      BK      21-30885
                                        Debtor.         )

                          DECLARATION OF BECKY R. EGGMANN

STATE OF MISSOURI               )
                                ) SS.
COUNTY OF ST. LOUIS             )

        I, BECKY R. EGGMANN, declare:

        1.      I am an attorney duly admitted to practice before all courts of the State of Illinois,
as well as this Court.

        2.      I am a member of the law firm of Carmody MacDonald P.C. that the Trustee is
seeking to employ generally by the Application to which this Declaration is attached. Several
other members and associates of the law firm are similarly duly admitted to practice in this State
and before this Court.

         3.     The law firm of Carmody MacDonald P.C. has extensive experience in numerous
areas of law including bankruptcy, insolvency, corporate reorganization, tax-related bankruptcy
matters, and debtor/creditor law. The firm is well qualified to represent the Trustee herein and is
willing to accept employment on the basis set forth in the annexed Application.

        4.      The law firm of Carmody MacDonald P.C., its partners, of counsel, and associates
do not hold any interest adverse to the above-entitled estate, and said law firm is a disinterested
entity as defined in 11 U.S.C. §101(14).

        5.     Neither the firm nor any of its partners, of counsel, or associates represent any
interest adverse to the estate of the Debtor, the Debtor, creditors, any other party-in-interest nor
their respective attorneys and accountants, the U.S. Trustee and the employees of the U.S.
Trustee.

        6.       Neither the firm nor any of its partners, of counsel and associates have a business,
professional, or other connection with the Debtor.

        7.       I declare under penalty of perjury that the foregoing is true and correct.
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                                                   /s/ Becky R. Eggmann
                                                   Becky R. Eggmann, Illinois Bar # 6203020
                                                   CARMODY MACDONALD P.C.
                                                   120 S. Central Ave., Suite 1800
                                                   St. Louis, Missouri 63105
                                                   (314) 854-8600
                                                   Fax No. (314)854-8660
                                                   bre@carmodymacdonald.com



      Subscribed and sworn to before me this 4th day of May, 2022.


                                                   /s/ Krista J. Doiron
                                                   Notary Public


My Commission Expires: January 30, 2026




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was served
electronically on all parties scheduled on the Court’s ECF Notice List and that a copy of the
foregoing was served upon all interested parties in the above-captioned cause by enclosing the
same in an envelope addressed to each attorney or interested party at their addresses disclosed by
the pleadings of record, by regular mail with postage fully prepaid on the 4th day of May, 2022.


                                                            /s/ Krista Doiron




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